                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


MARY ELIZABETH GRAY                           )
                                              )
v.                                            ) NO. 3-11-0659
                                              ) JUDGE CAMPBELL
WILLIAMSON MEDICAL CENTER                     )


                                              ORDER


         The parties have filed a Rule 41 Stipulation of Dismissal (Docket No. 27), indicating that

all matters in dispute herein have been resolved. Accordingly, this action is dismissed with

prejudice, and the Clerk is directed to close the file. Any pending Motions are denied as moot.

         The pretrial conference set for March 11, 2013, and the bench trial set for March 19, 2013,

are canceled. This Order shall constitute the final judgment in this case pursuant to Fed. R. Civ.

P. 58.

         IT IS SO ORDERED.


                                                      ___________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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